Case: 1:90-cv-00067-TSB-SM Doc #: 753 Filed: 10/16/20 Page: 1 of 2 PAGEID #: 928




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 DAVID DAY, et al.,                         :      Case No. 1:90-cv-67
                                            :
        Plaintiffs,                         :      Judge Timothy S. Black
                                            :
 vs.                                        :
                                            :
 NLO, INC., et al.,                         :
                                            :
        Defendants.                         :

                                        ORDER

       This civil action is before the Court on Class Counsel’s Motion for Approval of

Proposed Pandemic Protocol for the Fernald Workers Medical Monitoring Program (the

“Motion”). (Doc. 752). Upon careful review, the Court concludes that the Motion

should be granted in its entirety.

       Accordingly:

   1. The Motion (Doc. 752) is hereby GRANTED;

   2. The Court APPROVES the pandemic protocol set forth in the Motion (the
      “Pandemic Protocol”) (Doc. 752 at 6–8) in its entirety;

   3. The Court DIRECTS the Fernald Workers Medical Monitoring Program
      (“FWMMP”) to carry out the Pandemic Protocol for the duration of the
      COVID-19 pandemic;

   4. The Court DIRECTS the Trustee to take all necessary steps to cover the cost of
      the Pandemic Protocol;

   5. Within the constraints of the COVID-19 pandemic, the Pandemic Protocol, to the
      extent a participant avails himself or herself of it and it is completed by the
      FWMMP staff, SHALL satisfy the Class Action Settlement Agreement’s
      requirement that class members be provided an “annual follow-up examination”
      by the FWMMP.
Case: 1:90-cv-00067-TSB-SM Doc #: 753 Filed: 10/16/20 Page: 2 of 2 PAGEID #: 929




        IT IS SO ORDERED.

Date:    10/16/2020                                    s/Timothy S. Black
                                                     Timothy S. Black
                                                     United States District Judge




                                       2
